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1      CENTER FOR DISABILITY ACCESS
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7
8
                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11     Chris Langer,                              Case No.

12               Plaintiff,
                                                  Complaint for Damages and
13        v.                                      Injunctive Relief for Violations
                                                  of: American’s with Disabilities
14     The    Culinary Institute of               Act; Unruh Civil Rights Act
       America, a New York Nonprofit
15     Corporation;
16               Defendants.
17
18         Plaintiff Chris Langer (“Plaintiff”) complains of The Culinary Institute
19   of America, a New York Nonprofit Corporation (“Defendant”), and alleges as
20   follows:
21
22
23     PARTIES:

24     1. Plaintiff is a disabled individual and a member of a protected class of

25   persons under the Americans with Disabilities Act. Plaintiff is profoundly hard

26   of hearing and needs closed captioning to consume audio content such as

27   movies, videos or tutorials. Plaintiff is a California resident.

28     2. Defendant The Culinary Institute of America (“The Culinary Institute


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1    of America”) owned or operated The CIA at Greystone located in Napa County
2    in July 2021.
3      3. Defendant The Culinary Institute of America (“The Culinary Institute
4    of America”) owns or operates The CIA at Greystone located in Napa County
5    currently.
6      4. Defendant The Culinary Institute of America owns the The CIA at
7    Greystone website, with a root domain of: https://www.ciachef.edu/cia-
8    california/, and all related domains, sub-domains and/or content contained
9    within it, (“Website”) in July 2021.
10     5. Defendant The Culinary Institute of America owns the website
11   currently.
12     6. Plaintiff does not know the true names of Defendants, their business
13   capacities, their ownership connection to the property and business, or their
14   relative responsibilities in causing the access violations herein complained of,
15   and alleges a joint venture and common enterprise by all such Defendants.
16   Plaintiff is informed and believes that each of the Defendants herein, is
17   responsible in some capacity for the events herein alleged or is a necessary
18   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
19   the true names, capacities, connections, and responsibilities of the
20   Defendants are ascertained.
21
22     JURISDICTION & VENUE:
23     7. The Court has subject matter jurisdiction over the action pursuant to 28
24   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
25   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
26     8. This court has supplemental jurisdiction over Plaintiff’s non-federal
27   claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
28   formed from the same case and/or controversy and are related to Plaintiff’s


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1    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
2      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
3    is subject to personal jurisdiction in this District due to its business contacts
4    with the District.
5
6      FACTUAL ALLEGATIONS:
7      10. Plaintiff is hard of hearing and is a member of a protected class under
8    the ADA.
9      11. Plaintiff relies on subtitles and closed captioning to hear audio in
10   recorded content.
11     12. The Culinary Institute of America operates privileges, goods or services
12   out of a physical location in California. These services are open to the public,
13   places of public accommodation, and business establishments.
14     13. The Website is a nexus between The Culinary Institute of America
15   customers and the terrestrial based privileges, goods or services offered by
16   The Culinary Institute of America
17     14. The Culinary Institute of America offers videos on its website to induce
18   customers to purchase its goods or services. Websites and videos are some of
19   the facilities, privileges, or advantages offered by Defendants to patrons of The
20   Culinary Institute of America
21     15. Plaintiff was a prospective customer who wished to access Defendant’s
22   goods or services.
23     16. Plaintiff visited the Website in July 2021 to look for information about
24   the culinary institute.
25     17. When Plaintiff attempted to view video content on the Website, he
26   discovered that the videos lacked closed captioning, which made him unable
27   to fully understand and consume the contents of the videos.
28     18. Plaintiff experienced difficulty and discomfort in attempting to view


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1    videos including: “Learn the science of smoke from 6 time World Barbecue
2    Champion Pitmaster”, “Learn how to check a salmon for freshness”,
3    “Valentina’s Tex-Mex BBQ in Austin” and “Menus of Change 2021”. As a
4    result of this inaccessibility, he was deterred from further use of the Website.
5      19. Currently, the Defendants either fail to provide an accessible website or
6    Defendants have failed to maintain in working and useable conditions those
7    website features required to provide ready access to persons with disabilities.
8      20. Despite multiple attempts to access the Website using Plaintiff’s
9    computer, Plaintiff has been denied the full use and enjoyment of the facilities,
10   goods and services offered by Defendants as a result of the accessibility
11   barriers.
12     21. Plaintiff personally encountered accessibility barriers and has actual
13   knowledge of them.
14     22. By failing to provide an accessible website, the Defendants denied
15   Plaintiff full and equal access to the facilities privileges or advantages offered
16   to their customers.
17     23. Plaintiff has been deterred from returning to the website as a result of
18   these prior experiences.
19     24. The failure to provide accessible facilities created difficulty and
20   discomfort for the Plaintiff.
21     25. If the Website had been constructed equally accessible to all individuals,
22   Plaintiff would have been able to navigate the website and avail himself of its
23   goods and/or services.
24     26. Additionally, Plaintiff is a tester in this litigation and seeks future
25   compliance with all federal and state laws. Plaintiff will return to the Website
26   to avail himself of its goods and/or services and to determine compliance with
27   the disability access laws once it is represented to him that The Culinary
28   Institute of America and Website are accessible.


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1      27. Plaintiff is currently deterred from doing so because of Plaintiff’s
2    knowledge of the existing barriers and uncertainty about the existence of yet
3    other barriers on the Website. If the barriers are not removed, Plaintiff will
4    face unlawful and discriminatory barriers again.
5      28. The barriers identified above violate easily accessible, well-established
6    industry standard guidelines for making digital content accessible to people
7    with hearing-impairments to access websites. Given the prevalence of
8    websites that have implemented these standards and created accessible digital
9    content, it is readily achievable to construct an accessible website without
10   undue burden on The Culinary Institute of America             or a fundamental
11   alteration of the purpose of the Website.
12     29. Compliance with W3C Web Content Accessibility Guidelines
13   (“WCAG”) 2.0 AA standards is a viable remedy for these deficiencies and a
14   standard that has been adopted by California courts for website accessibility.
15     30. It’s been established that failure to remove inaccessible website
16   conditions violates the ADA and California law and requiring compliance with
17   industry access standards is a remedy available to the Plaintiff.
18     31. The website content was intentionally designed, and based on
19   information and belief, it is the Defendants’, policy and practice to deny
20   Plaintiff access to the website, and as a result, deny the goods and services that
21   are otherwise available to patrons of The Culinary Institute of America
22     32. Due to the failure to construct and operate the website in line with
23   industry standards, Plaintiff has been denied equal access to Defendant’s
24   Institute and the various goods, services, privileges, opportunities and benefits
25   offered to the public by The Culinary Institute of America.
26     33. Closed captioning can be provided at little cost, sometimes free or mere
27   dollars per minute of video content.
28     34. Given the nature of the barriers and violations alleged herein, the


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1    Plaintiff alleges, on information and belief, that there are other violations and
2    barriers on the Website that relate to his disability. In addition to the barriers
3    he personally encountered, Plaintiff intends to seek removal of all barriers on
4    the Website that relate to his disability. See Doran v. 7-Eleven (9th Cir. 2008)
5    524 F.3d 1034 (holding that once a plaintiff encounters one barrier, they can
6    sue to have all barriers that relate to their disability removed regardless of
7    whether they personally encountered the barrier).
8      35. Plaintiff will amend the complaint, to provide further notice regarding
9    the scope of the additional demanded remediation in the event additional
10   barriers are uncovered through discovery. However, please be on notice that
11   the plaintiff seeks to have all barriers related to his disability remedied.
12
13   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
14   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
15   Defendants.) (42 U.S.C. section 12101, et seq.)
16     36. Plaintiff re-pleads and incorporates by reference, as if fully set forth
17   again herein, the allegations contained in all prior paragraphs of this
18   complaint. Defendant is a public accommodation with the definition of Title
19   III of the ADA, 42 USC § 12181.
20     37. The website provided by the Defendant is a service, privilege or
21   advantage and extension of The Culinary Institute of America physical
22   presence and terrestrial services.
23     38. When a business provides services such as a website, it must provide an
24   accessible website.
25     39. Here, access to an accessible website has not been provided. A failure to
26   provide an accessible website is unlawful discrimination against persons with
27   disabilities.
28     40. Under the ADA, it is an act of discrimination to fail to ensure that the


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1    privileges, advantages, accommodations, facilities, goods and services of any
2    place of public accommodation is offered on a full and equal basis by anyone
3    who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
4    § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
5    reasonable modifications in policies, practices, or procedures, when such
6    modifications are necessary to afford goods, services, facilities, privileges,
7    advantages, or accommodations to individuals with disabilities, unless the
8    accommodation would work a fundamental alteration of those services and
9    facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
10     41. Here, the failure to ensure that the accessible facilities were available
11   and ready to be used by the plaintiff is a violation of the law.
12     42. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
13   set forth and incorporated therein, Plaintiff requests relief as set forth below.
14
15   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
16   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
17   Code § 51-53.)
18     43. Plaintiff repleads and incorporates by reference, as if fully set forth
19   again herein, the allegations contained in all prior paragraphs of this
20   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
21   that persons with disabilities are entitled to full and equal accommodations,
22   advantages, facilities, privileges, or services in all business establishment of
23   every kind whatsoever within the jurisdiction of the State of California. Cal.
24   Civ. Code §51(b).
25     44. The Unruh Act provides that a violation of the ADA is a violation of the
26   Unruh Act. Cal. Civ. Code § 51(f).
27     45. Defendants’ acts and omissions, as herein alleged, have violated the
28   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s


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1    rights to full and equal use of the accommodations, advantages, facilities,
2    privileges, or services offered.
3      46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
4    discomfort or embarrassment for the plaintiff, the defendants are also each
5    responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
6    55.56(a)-(c).
7      47. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
8    set forth and incorporated therein, Plaintiff requests relief as set forth below.
9
10          PRAYER:
11          Wherefore, Plaintiff prays that this Court award damages and provide
12   relief as follows:
13       1. A Declaratory Judgment that at the commencement of this action
14   Defendants were in violation of the requirements of the ADA due to
15   Defendants’ failures to take action to ensure that its websites were fully
16   accessible to and independently usable by hearing-impaired individuals,
17   including providing closed-captioning on all video content containing audio
18   elements.
19       2. For equitable nominal damages for violation of civil rights. See
20   Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021) and any other equitable
21   relief the Court finds appropriate.
22       3. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
23   enjoining Defendants from violating the ADA with respect to its website,
24   including a requirement that all current and future audio-video content be
25   closed captioned at the time of upload.
26
27
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1          4. Damages under the Unruh Civil Rights Act § 51 1, which provides for
2    actual damages and a statutory minimum of $4,000 for each offense.
3          5. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
4    to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
5
6
     Dated: July 23, 2021                CENTER FOR DISABILITY ACCESS
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10                                       By: ______________________________
11                                       Russell Handy, Esq.
                                         Attorney for Plaintiff
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         Note: the plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


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